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                       IN THE UNITED STATES DISTRICT COURT                  :· ;~~:'tlT'{ CLE

                       DISTRICT OF UTAH, NORTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                        Case: 1:18-cr-OO 107
                                                        Assigned To: Shelby, Robert J.
        Plaintiff,
                                                        Assign. Date :12/19/2018
                                                        Descriptio
         vs.
                                               INDICTMENT
  IV AN SANCHEZ (a/k/a IV AN SANCHEZ
  SAMBRANO,a/k/aZANCHEZ                        VIOLATION:
  SAMBRANO SANCHEZ, a/k/a IV AN
  SANCHEZ LAMAS)                                   18 U.S.C. § 641 (Theft of Government
                                                   Property)
         Defendant.


       The Grand Jury Charges:

                                        COUNTI
                                       18 u.s.c. § 641
                               (Theft of Government Property)

 Beginning on or about November 14, 2008 and continuing through on or about May 12,

           2018, in the Northern Division of the District of Utah and elsewhere,

 IVAN SANCHEZ (a/k/a IVAN SANCHEZ SAMBRANO, a/k/a ZANCHEZ SAMBRANO

                      SANCHEZ, a/k/a IVAN SANCHEZ LAMAS),

defendant herein, willfully and knowingly stole, purloined, and converted to his personal

use property of the United States, specifically postal stamps from the United States Postal
Service, a department and agency of the United States, of a value exceeding $1,000; all in

violation of 18 U.S.C. § 641.

                   NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 2461(c), upon conviction of

any offense in violation of 18 U.S.C. § 641, as set forth above, the defendant shall forfeit

to the United States of America any property, real or personal, which constitutes or is

derived from proceeds traceable to such offenses. The property to be forfeited includes,

but is not limited to, the following:

       •   A money judgment of at least $196,889.65, which is equal to the value of any

           property, real or personal, constituting or derived from proceeds traceable to

           the offenses and not available for forfeiture as a result of any act or omission of

           the defendant(s) for one or more of the reasons listed in 21 U'.S.C. § 853(p).

                                   SUBSTITUTE ASSETS

       If any of the above-described forfeitable property, as a result of any act or

omission of the defendants,

       (1) cannot be located upon the exercise of due diligence;

       (2) has been transferred or sold to, or deposited with, a third person;

       (3) has been placed beyond the jurisdiction of the court;

       (4) has been substantially diminished in value; or

       (5) has been commingled with other property which cannot be divided without

difficulty; ·



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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28

U.S.C. § 246l(c), to seek forfeiture of any other property of said defendants up to the

value of the above-forfeitable property.

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JOHN W. HUBER
United States Attorney




LAX_E DISHMAN
Assistant United States Attorney




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